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         Trump's unprecedented campaign pitch: Elect me to get revenge on
         the government
         "He's declared war on them," one GOP pollster said.

         By Tal Axelrod
         July 14, 2023, 8:55 AM




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         Who is Donald Trump?
         Donald Trump is running to be the Republican nominee in the 2024 presidential election.




         Donald Trump has told supporters not to just see him as a candidate but as "your retribution."

         In his comeback bid for the White House, the former president -- twice impeached but twice acquitted and now
         twice indicted -- has vowed that if reelected, he will wield his power to personally remake parts of the federal
         government to a degree that historian Mark Updegrove said was unprecedented. Trump has promised to hamstring
         perceived enemies, including in the Department of Justice, which is currently investigating him, and target
         Republican bogeymen like President Joe Biden.

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         He swore in June to appoint a special prosecutor to "go after" the Bidens and that he would "totally obliterate the
         deep state," referring to a conspiratorial view of how the government operates.

         "This is the final battle. ... Either they win or we win," he said in March.

         Among Trump's policy proposals is reviving an executive order from the final months of his presidency, revoked by
         Biden, that observers say would let him essentially turn broad swaths of federal workers into at-will employees
         whom he could fire and replace -- rather than terminating them only for cause, such as bad performance, and after
         satisfying certain employment protections.

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         Shortly after being indicted in New York in April on felony charges of falsifying business records, which he denies,
         related to money paid to an adult film actress during his 2016 campaign, Trump exhorted Congressional
         Republicans via social media to "DEFUND THE DOJ AND FBI UNTIL THEY COME TO THEIR SENSES."



                      MORE: Trump nearly doubles fundraising in second quarter amid mounting legal challenges



         He's also directed ire at longtime nonpartisan institutions, deriding national security and intelligence workers as
         "corrupt," and he's crassly attacked both the special counsel who is investigating his alleged mishandling of
         government secrets -- and the prosecutor's family.

         Experts says all of this is stretching -- maybe snapping -- the boundaries of how past presidential candidates have
         criticized the very government they hope to lead.

         "Time and time again, we have seen Donald Trump attempt to remake our government in his image, not based on
         our country’s ideals and traditions, but based on a personal agenda," said Updegrove, a presidential historian and
         ABC News contributor.

         But conversations with GOP insiders and attendees at recent Trump campaign events confirm the base's appetite
         hasn't waned for the revenge he promises. According to FiveThirtyEight, early polls show Trump is the clear front-
         runner for his party's nomination, with his support not stifled by either of his two historic indictments, to which he
         has pleaded not guilty.



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         "It makes me more supportive and more prone to help him in any way I can," Larry Miller from Merrimack, New
         Hampshire, told ABC News earlier this month at an event Trump held in New Hampshire.

         Another attendee at that event, Krisia Santiago, said she was a two-time Trump voter who was sticking with him.
         She spoke bluntly: "They're scared because he can finish this war. … If you believe in him, you're gonna be a
         supporter no matter what."




         Former President and 2024 Republican Presidential hopeful Donald Trump speaks during a campaign...            Show more
         Logan Cyrus/AFP via Getty Images



         Many of Trump's attacks against the FBI and DOJ at best twist the truth -- with no evidence suggesting wrongdoing
         by the current president or by special counsel Jack Smith in bringing the recent federal indictment against Trump
         over his handling of classified information while out of office. Attorney General Merrick Garland and Smith have
         defended their work.

         "This indictment was voted by a grand jury of citizens in the Southern District of Florida, and I invite everyone to
         read it in full to understand the scope and the gravity of the crimes charged," Smith said last month.

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         The support from Trump loyalists for a complete overhaul of parts of the government has set off a chicken-or-the-
         egg debate over whether he has convinced his voters to turn against bodies like the FBI -- or if he's exacerbating a
         sentiment they already feel, given the myriad legal troubles and investigations Trump has faced.




         "He has persuaded people that the FBI and the DOJ are at least enemies of Donald Trump," asserted veteran GOP
         pollster Whit Ayres.

         "He gets the people who care about him to care about people who are standing in his way. And the agencies of law
         enforcement ... he's declared war on them, and his followers will believe what he says," Ayres continued.

         A Fox News poll released last month showed that 40% of registered voters have a lack of confidence in the FBI. And
         even intraparty critics of the former president concede how much his suspicions of law enforcement and his anti-
         government messaging have seeped into the broader GOP.

         "The deep distrust and dislike that these people have and feel about these institutions just comes through so strong
         when you talk to these voters. Trump's message is in line with how the voters are thinking about these institutions.
         They don't trust them at all," said Gunner Ramer, the political director of the Republican Accountability PAC,
         which conducts focus groups with GOP voters.

         "I think that this is very much about what Donald Trump has been able to really activate within the Republican
         Party base," Ramer said. "When you ask these Republican primary voters, 'How do you feel about Trump's
         campaign promise of investigating the Bidens?' It's near unanimous support for that."




         Trump has so far survived a slew of legal problems since launching his political career, including a probe of his 2016
         campaign's alleged links to Russia and two subsequent impeachments while he was in office. (While the Senate
         acquitted him in both cases, with fewer than two-thirds of the chamber voting against Trump, a bipartisan group of
         senators did vote to convict in both trials. )



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         Now, facing the indictments over hush money payments to a porn star and his handling of classified information
         after leaving office, Trump and his allies have turned their anger toward the president's son Hunter Biden, who
         recently reached a plea deal on tax and gun charges that will likely see him avoid prison time.

         There's no evidence that Hunter Biden received preferential treatment in his deal, and the White House says it is
         actually proof of accountability -- but Republicans insist otherwise, claiming it as the latest evidence of what New
         Hampshire Trump voter Larry Miller called a "two-tiered justice system" that treats people differently according to
         politics.

         The Hunter Biden investigation was conducted by U.S. Attorney David Weiss, who was appointed by Trump,
         remained in his position under President Biden and has said he was never "denied the authority to bring charges in
         any jurisdiction."

         "For many voters, both base Republicans and independents who see very clearly what's going on, this has been
         something that they've been following for years," claimed one Trump adviser, who like some others in this story
         asked not to be quoted by name in order to speak candidly.

         "Whenever he speaks to himself as a victim, he is providing focus and color to the picture that they already
         recognize," added a former campaign official who remains in touch with the president's current team.

         The ceaseless attacks from Trump have raised speculation over how far he would go if elected to a second term --
         including if he would indeed launch investigations into Hunter Biden or others, like Hillary Clinton.




         Republican presidential candidate former President Donald Trump speaks during the Moms for Liberty...         Show more
         Michael M. Santiago/Getty Images



         He has backed off of past promises of prison for his rivals, including Clinton. "She went through a lot and suffered
         greatly in many different ways, and I am not looking to hurt them at all," he told The New York Times in 2016, weeks
         after beating her in the presidential election, when he often rallied voters with chants of "lock her up!"



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         "I would not be surprised that if any Republican takes over -- not just Trump, any Republican -- that you would see a
         further politicization-slash-weaponization of the Justice Department and less of the courtesy that they used to give
         former elected officials," one former Trump adviser who's still in contact with his campaign said.

         "Everything's on the table," this person said, adding, "I think everybody needs to be put on notice ... I don't think
         that courtesy that Trump gave Hillary would exist the second time around."

         A Trump campaign spokesman did not respond to a request for comment for this story.

         Marc Lotter, the director of strategic communications on Trump's 2020 bid and now with the America First Policy
         Institute, said the 2024 strategy builds off of Trump's 2016 pitch, when he channeled voter frustration over trade
         and Barack Obama's presidency into a surprise win.

         "He captured this feeling of people who are tired of being lied to, tired of being lied to by politicians and
         officeholders of both political parties," Lotter said. "And they were sick and tired of another poll-tested Washington
         creation politician. ... I think he taps into that, and he has been able to keep that going."



                      MORE: Pence, Trump court Iowa voters in hopes of getting early state momentum



         To be sure, Trump vowed broad changes to the government when he first ran in 2016, epitomized by his "drain the
         swamp" slogan that left critics, even other Republicans like current primary challenger Ron DeSantis, saying he
         didn't follow through.

         Samara Klar, a professor at the University of Arizona who studies political attitudes and behavior, said that she
         "optimistically" thinks "our institutions will remain strong" in the face of Trump's attacks on the government.
         However, she conceded her belief is not universally held among her colleagues, some of whom she said think
         Trump could pose a more existential risk.

         Democracy experts have previously spoken to ABC News about how they worried Trump was corroding crucial
         institutional trust.

         "For the election system to work, our entire democracy to work, depends on trust in the election system. That is the
         reason why there is and has always been a peaceful transition of power after elections in the United States," Wendy
         Weiser, who directs the Democracy Program at the Brennan Center for Justice, said last year.

         According to the GOP operatives and outside experts who spoke to ABC News for this story, Trump's continued
         assault on the federal government's legitimacy will likely be a mainstay of his 2024 campaign and return him to
         comfortable and controversial territory -- urging supporters to embrace him even if it means rejecting everyone
         else.

         "There are very few Americans -- and frankly, probably very few people worldwide at this point -- who don't have a
         pretty crystallized attitude about Donald Trump. I don't think he can appeal to uncertain voters," Klar said. "At this
         point, his best strategy is to garner as much enthusiasm among the people that already like him."

         ABC News' Soo Rin Kim contributed to this report.


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